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IN THE UNI'I'ED STATES DISTRICT COURT
FOR THE EASTERN DlSTRICT OF VIRGINIA
Alexandria Divisioll

UNITED STA'I`ES OF AMER!CA )
)
v. )
) Casc No. l:l$-cr-SS
PAUL J. MANAFORT, JR., )
Dcfcndaot. )
)
)

ORDER

In this prosecution for tax and bank fraud, defendant made his initial appearance on
March 8, 2018, and was arraigned at the same time. At det`endant’s initial appearance the
Special Prosecutor did not seek detention in this case_, and thus the issue is what condition or
combination of conditions will reasonably assure defendant"s appearance at triai. See 18 U.S.C.
§ 3142(¢)(13).

Under the Bai| Reform Act, criminal defendants are generally entitled to pretrial release
under the least restrictive conditions possible. Id. When considering which condition or
combination of conditions will reasonably assure the defendant"s appearance at trial, the
following factors give appropriate guidance:

(l) the nature and circumstances of the offense charged
(2) the weight of the evidence against the person;
(3) the history and characteristics of the person ; [a.nd]

(4) the nature and seriousness ot`thc danger to any person or the community that
would be posed by the person`s release.

Id. §3142(3)_

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These factors, applied to this case, point convincingly to the conclusion that the following
special conditions are necessary to reasonably assure defendant’s appearance at trial:
(i) Home incarceration with location monitoring; and
(ii) A 810,000,000 unsecured bond.
These conditions are necessary because the defendant is a person of great wealth who has the
financial means and international connections to flee and remain at large, as well as every
incentive to do so. Specifieally, given the nature of the charges against the defendant and the
apparent weight of the evidence against him, defendant faces the very real possibility of
spending the rest of his life in prison. ln this regard, he poses a substantial risk of flight and the
above-mentioned conditions are the least restrictive conditions that will reasonably assure
defendant’s appearance at tri al.
Accordingly,
lt is hereby ORDERED that defendant is RELEASED pending trial pursuant to the
following special and standard conditions oi` release:

(i) Defendant shall be subject to home incarceration; specifically_, defendant is restricted
to a 24-hour-a day lock-down at his residence except for medical neeessities, court
appearances and other activities preapproved by the court or the pretrial services
officer;

a. Other than attending court proceedings, defendant will only be permitted to leave
his residence in Alexandria, Virgi.nia to attend meetings with defense counsel, to
attend medical appointments and to attend religious observances. and then only

after seeking and obtaining the permission ot` the pretrial services officer at least

forty-eight (48) hours in advance;

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(ii) Defendant shall submit to location monitoring as directed by the pretrial services
officer and comply with all requirements and instructions pr'ovided;l

(iii) Defendant must agree to and sign a $10,000,000 unsecured bond_;

(iv) Det`endant may not violate federal_. state or local law while on release;

(v) Defendant must seek permission from the court in writing to change his residence or
telephone number;

(vi) Defendant must surrender all passports to the pretrial services oftice;

(vii) Det`endant shall not obtain a new passport or any other international travel
documents;

(viii) Dei`endant must avoid all contact_, directly or indirectly, with any person who is a
victim or witness in the investigation or prosecution of the defendant;

(ix) Defendant may not possess a tirearrn, destructive device or any other weapon;

(x) Defendant may not use alcohol to excess;

(xi) Dcfendant may not possessor use a narcotic drug or other controlled substance as
defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner;

(xii) Defendant shall submit to substance abuse testing as required by the pretrial services
ofEcer;

(xiii) Def`endant must immediately report an_v contact with law enforcement officials to his
pretrial services officer.

Defendant may move to modify these conditions, specifically the home incarceration
condition_, it` he presents an appropriate bail package that will reasonably assure his appearance at

trial.

 

' Defendant must pay all of the costs associated with his location monitoring

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Defendant is also warned that violating any of the conditions of his release will have
serious consequences Speciiically_, violating any of the foregoing conditions of release may
result in the immediate issuance of a warrant for defendant’s arrest, a revocation of defendant"s
release, an order of detention_. a forfeiture of bond_. and a prosecution for contempt of court and
could result in imprisonment, a fine or both.

While on release, if defendant commits a federal felony offense the punishment is an
additional prison term of not more than ten years and for a federal misdemeanor offense the
punishment is an additional prison term of not more than one year. This sentence will be
consecutive to any other sentence you receive

It is a crime punishable by up to ten years in prison, and a fine of $250,000 or both to:
obstruct a criminal investigation, camper with a witness_, victim or informant, retaliate or attempt
to retaliate against a witness, victim or int`ormant_, or intimidate a wimess, victim, inforrnant,
juror, or officer of the court. 'l'he penalties for tampering, retaliation or intimidation are
significantly more serious if they involve a killing or attempted killing.

lf, after release, defendant knowingly fails to appear as the conditions of release requirc_,
or to surrender to serve a sentence, defendant may be prosecuted for failing to appear or
surrender and additional punishment may be imposed A term ot`imprisonment imposed for
failure to appear or surrender will be consecutive to any other sentence you may receive ln
addition, a failure to appear or surrender may result in the forfeiture of any bond posted

‘['he Clerk is directed to send a copy of this Order to the Marshals Serv` e_, the Pretrial

Services Oiticc. and all counsel of record.

 

Alcxandria, Virginia
March 9, 2018

 

